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                   EXHIBIT 3
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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                            for the
                                                           Western District of Virginia

                     Elizabeth Sines, et al.                                   )
                               Plaintiff                                       )
                                  v.                                           )      Civil Action No.      3:17-cv-00072-NKM
                      Jason Kessler, et al.                                    )
                                                                               )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION
                                                                            Hutton Marshall
To:
                                                       (Name of person to whom this subpoena is directed)

        ✔
        □ Testimony:   YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:


        Place:                                                                                Date and Time:
                    Video conference           Remote via Zoom
                                                                                                               07/22/2020 9:30 am

          The deposition will be recorded by this method: video and stenographer

      ✔
      □ Production:     You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material:
                        See Attachment A




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        06/15/2020
                                   CLERK OF COURT
                                                                                         OR
                                                                                                                  s/ James E. Kolenich
                                           Signature of Clerk or Deputy Clerk                                  Attorney’s signature

                   The name, address, e-mail address, and telephone number of the attorney representing certain Defendants
                                                                            , who issues or requests this subpoena, are:
         James Kolenich , 513-444-2150; 9435 Waterstone Blvd. #140, Cincinnati, OH 45249; JEK318@GMAIL.com;

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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Civil Action No. 3:17-cv-00072-NKM

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          □ I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          □ I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
           $                                       .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (i) disclosing a trade secret or other confidential research, development,
                                                                                  or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                 not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or              study that was not requested by a party.
regularly transacts business in person; or                                           (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly       described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                       modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                     conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial              (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                          otherwise met without undue hardship; and
                                                                                       (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or             (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                           (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                    procedures apply to producing documents or electronically stored
                                                                                  information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                          (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps            (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the              If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must            information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include            which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who              (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                  person responding need not produce the same electronically stored
                                                                                  information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                              (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                     responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to           from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of      of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,        order, the person responding must show that the information is not
hearing, or trial.                                                                reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible            made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated      requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or           26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.       (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for           (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,      under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                        material must:
     (i) At any time, on notice to the commanded person, the serving party             (i) expressly make the claim; and
may move the court for the district where compliance is required for an                (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                        tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the       privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from       (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                    subpoena is subject to a claim of privilege or of protection as
                                                                                  trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                            that received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where           information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                      until the claim is resolved; must take reasonable steps to retrieve the
                                                                                  information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                              present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits              compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                          produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no     resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                      (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a             The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on         motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                              who, having been served, fails without adequate excuse to obey the
                                                                                  subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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               Attachment A
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                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OFVIRGINIA
                               Charlottesville Division


 ELIZABETH SINES, SETH WISPELWEY,
 MARISSA BLAIR, APRIL MUÑIZ,
 HANNAH PEARCE, MARCUS MARTIN,
 NATALIE ROMERO, CHELSEA
 ALVARADO, JOHN DOE, and THOMAS
 BAKER,

                              Plaintiffs,           Civil Action No. 3:17-cv-00072-NKM

 v.                                                      JURY TRIAL DEMANDED

 JASON KESSLER, et al.,

                              Defendants.


                    DEFENDANTS’ SUBPOENA FOR DOCUMENTS TO
                              HUTTON MARSHALL

        YOU ARE HEREBY COMMANDED, pursuant to Rule 45 of the Federal Rules of Civil

 Procedure (“Fed. R. Civ. P.”), to produce the documents and things designated herein for

 inspection at THE PLACE AND TIME OF YOUR DEPOSITION as provided under the

 Federal Rules of Civil Procedure. There is a Protective Order in this action (attached as

 Attachment B). Documents produced may be designated as “CONFIDENTIAL” or

 “HIGHLY CONFIDENTIAL” and will be treated as such. This subpoena for documents,

 including each individual Request for Documents (collectively, the “Requests”), shall be read

 and interpreted in accordance with the definitions and instructions identified below.




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                                  DEFINITIONS AND INSTRUCTIONS

         Defendants incorporate by reference all the instructions, definitions, and rules contained

 in the Federal Rules of Civil Procedure, and for purposes of this Subpoena, the following

 instructions and definitions shall apply:

         1.      The singular of each word shall be construed to include its plural and vice versa,

 and the root word and all derivations (e.g., “ing,” “ed”) shall be construed to include each other.

 The words “and” as well as “or” shall be construed both conjunctively and disjunctively.

         2.      The present tense shall be construed to include the past tense and vice versa. Where

 it is necessary to bring within the scope of these Requests information that might otherwise be

 construed to be outside their scope, the use of a verb in any tense shall be recognized as the use of

 that verb in all other tenses.

         3.      You should construe negative terms to include the positive, and vice versa. For

 example, you should construe the word “preference” to mean “preference or lack ofpreference.”

         4.      The word “any” shall be construed to include “all” and vice versa.

         5.      The term “concerning” means “relating to,” “referring to,” “describing,”

 “evidencing,” or “constituting.”

         6.      The terms “document” and “documents” are defined to be synonymous in meaning

 and equal in scope to the usage of the term “documents” in Fed. R. Civ. P. 34(a)(1)(A). The terms

 “document” and “documents” are defined to include all writings of every kind and all

 electronically stored information (“ESI”), including but not limited to videos, photographs, sound

 recordings, images, charts, maps, records, memoranda, correspondence, handwritten or

 typewritten notes, calendars, diaries, telephone messages, data or data compilations, emails,

 attachments to emails, instant messages, PowerPoint presentations, spreadsheets, all other writings



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 in hard copy or in electronic form, and all other material stored on computers, computer discs,

 CDs, DVDs, Blackberry or smartphone devices, tablets, personal digital assistants, USB “thumb”

 drives, electronic calendars, and telephone systems.

        7.      The terms “electronically stored information” and “ESI” are defined to be

 synonymous in meaning and equal in scope to the usage of “electronically stored information” in

 Fed. R. Civ. P. 34(a)(1)(A). “ESI” includes data on all servers, including IP addresses, MAC

 addresses, active data, archived data, deleted data, and legacy data, as well as data on removable

 electronic media and in any other location where documents relevant to the Requests may be found.

        8.      The term “including” shall be construed as “including, but not limited to.”

        9.      The terms “you” and “your” include the person(s) to whom these Requests are

 addressed, and all of that person’s agents, representatives, and attorneys.

        10.     The terms “communication” and “communications” are defined to include any

 document, mail, email, phone call, text message, instant message, Facebook message, Facebook

 post, tweet on Twitter, direct message on Twitter, message or post on Gab, chat or message on any

 social media platform, and any other means used to convey information from one person to any

 other person or persons in any form.

        11.     The term “event” is defined as a planned or organized public occasion.

        12.     The term “rally” is defined to mean the gathering or meeting together by a group

 of four or more people in one geographical location to show support for a common cause.

        13.     The term “social media” means any forum, website, application, or other network

 on which persons can create, share, communicate concerning, or comment upon any information,

 or otherwise engage in social networking. Without limiting the foregoing in any manner, and by

 way of example only, the following are social media platforms: comment sections of websites,



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 Facebook, Discord, Reddit, Imgur, Snapchat, Instagram, Google+, 4chan, 8chan, Twitter, Gab,

 Tumblr, and instant messaging programs such as Signal, WhatsApp, Messenger, Hangouts, and

 Skype.

          14.   The term “Plaintiffs” refers to the following individuals: Elizabeth Sines, Seth

 Wispelwey, Marissa Blair, April Muñiz, Hannah Pearce, Marcus Martin, Natalie Romero, Chelsea

 Alvarado, and Thomas Baker.

          15.   The term “Defendants” refers to the following individuals and entities: Jason

 Kessler, Richard Spencer, Christopher Cantwell, James Alex Fields, Jr., Vanguard America,

 Andrew Anglin, Moonbase Holdings, LLC, Robert “Azzmador” Ray, Nathan Damigo, Elliott

 Kline a/k/a Eli Mosley, Identity Evropa, Matthew Heimbach, Matthew Parrott a/k/a David

 Matthew Parrott, Traditionalist Worker Party, Michael Hill, Michael Tubbs, League of the South,

 Jeff Schoep, National Socialist Movement, Nationalist Front, Augustus Sol Invictus, Fraternal

 Order of the Alt-Knights, Loyal White Knights of the Ku Klux Klan, and East Coast Knights of

 the Ku Klux Klan a/k/a East Coast Knights of the True Invisible Empire.

          16.   In producing documents, you are requested to produce the original of each

 document requested together with all non-identical copies and drafts of that document. If the

 original of any document cannot be located, a copy shall be provided in lieu thereof, and shall be

 legible and bound or stapled in the same manner as the original. In any circumstance in which an

 agreement is reached to allow the production of copies of documents rather than originals, you

 shall retain all of the original documents for inspection or copying throughout the pendency of this

 case, any appeal(s), and any related proceedings.

          17.   A draft of a non-identical copy is considered a separate document.




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        18.     Any alteration of a responsive document, including any marginal notes,

 handwritten notes, underlining, date stamps, received stamps, endorsed or filed stamps, drafts,

 revisions, modifications, and other versions of a document, is a responsive document in its own

 right and must be produced.

        19.     Any reference to a person that is a business entity and is not otherwise defined

 includes that person’s predecessors (including any pre-existing person that at any time became part

 of that entity after merger or acquisition), successors, parents, divisions, subsidiaries, affiliates,

 franchisors, and franchisees; each other person directly or indirectly owned or controlled by any

 of them; each partnership or joint venture to which any of them is a party; all present and former

 directors, officers, employees, agents, consultants, controlling shareholders (and any entity owned

 by any such controlling shareholder), and attorneys of or for any of them; and any other person

 acting for or on behalf of any of them.

        20.     Unless words or terms have been given a specific definition herein, each word or

 term used herein shall be given its usual and customary dictionary definition, except where such

 words have a usual custom and usage definition in your trade or industry, in which case they shall

 be interpreted in accordance with such usual custom and usage definition of which you are aware.

        21.     Pursuant to Fed. R. Civ. P. 34(b), documents shall be produced either (a) as they

 are kept in the usual course of business (in which case they shall be produced in such fashion as to

 identify the department, branch, or office in whose possession it was located and, where applicable,

 the natural person in whose possession it was found or the server or central file in which it was

 found, and the address of each document’s custodian(s)), or (b) segregated as responsive to a

 specific Request enumerated in these Requests, with such specific Request identified.




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        22.     Documents and communications shall be produced in a manner that identifies all

 metadata, including but not limited to the sender, recipient, date, time, and location, when

 available.

        23.     All documents shall be produced in the file folder, envelope, or other container in

 which the documents are kept or maintained. If the requested documents are maintained in a file,

 the file folder is included in the request for production of those documents. If, for any reason, the

 container cannot be produced, produce copies of all labels or other identifying marks.

        24.     Documents attached to each other should not be separated.

        25.     If identical copies of a document are in the possession, custody, or control of more

 than one natural person or other document custodian, a copy of that document shall be produced

 from each such natural person or other document custodian.

        26.     In instances where two or more exact duplicates of any document exist, the most

 legible copy shall be produced.

        27.     If you file a timely objection to any portion of a Request, definition, or instruction,

 provide a response to the remaining portion.

        28.     Produce all responsive documents in your possession, custody, or control,

 regardless of whether such documents are possessed directly by you or persons under your control,

 including your agents, employees, representatives, or attorneys, or their agents, employees, or

 representatives.

        29.     If you are unable to produce a document that is responsive to a Request, so state

 and indicate whether the document ever existed or whether the document once existed but cannot

 be located. If any responsive document once was, but is no longer, in your possession, custody or

 control, state the whereabouts of such document when last in your possession, custody or control,



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 state the date and manner of its disposition and identify its last known custodian. To the extent

 that any responsive document was lost or destroyed, produce any document that supports your

 assertion that the document was lost or destroyed, provide the date when each such document was

 lost or destroyed, and the role or title of the individual who authorized or requested the destruction

 of the document.

        30.     Unless specified otherwise in a particular Request, the time period to which these

 Requests refer is from January 1, 2017 to the present. If any document is undated and the date of

 its preparation cannot be determined, the document shall be produced if otherwise responsive to

 any of the Requests.

        31.     These Requests are continuing and require supplemental responses in accordance

 with the requirements of Fed. R. Civ. P. 26(e).

        32.     The terms defined above and used in each of the Requests should be construed

 broadly to the fullest extent of their meaning in a good faith effort to comply with the Federal

 Rules of Civil Procedure.

                               DOCUMENTS TO BE PRODUCED

        1.      All documents concerning the above-captioned litigation.




        2.      All documents and communications concerning any rally or event on August 11 or

 12, 2017, in Charlottesville, Virginia.




        3.      All documents concerning and all communications concerning or with any Plaintiff

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 or Defendant in this litigation from January 1, 2017, to the present.

        4.      Documents and communications sufficient to identify (a) your accommodations on

 the nights of August 11 and 12, 2017; (b) your transportation to and from any rally or event on

 August 11 and 12, 2017, in Charlottesville, Virginia; and (c) who arranged for or paid for such

 accommodation and transportation.




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    Dated: June 15, 2020
           Cincinnati, Ohio

                                          /s/ James E. Kolenich
                                          James E. Kolenich (pro hac vice)
                                          KOLENICH LAW OFFICE
                                          9435 Waterstone Blvd. #140
                                          Cincinnati, OH 45249
                                          Telephone: (513) 444-2150
                                          JEK318@GMAIL.com

                                          Attorney for Defendants Kessler, Damigo, Parrott
                                          Identity Evropa and Traditionalist Workers Party




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                     Text of Federal Rule of Civil Procedure 45(d) and (e)

 (d) PROTECTING A PERSON SUBJECT TO A SUBPOENA; ENFORCEMENT.

        (1)     Avoiding Undue Burden or Expense; Sanctions. A party or attorney responsible for
 issuing and serving a subpoena must take reasonable steps to avoid imposing undue burden or
 expense on a person subject to the subpoena. The court for the district where compliance is
 required must enforce this duty and impose an appropriate sanction—which may include lost
 earnings and reasonable attorney’s fees—on a party or attorney who fails to comply.

        (2)    Command to Produce Materials or Permit Inspection.

                (A)    Appearance Not Required. A person commanded to produce documents,
        electronically stored information, or tangible things, or to permit the inspection of
        premises, need not appear in person at the place of production or inspection unless also
        commanded to appear for a deposition, hearing, or trial.

                (B)     Objections. A person commanded to produce documents or tangible things
        or to permit inspection may serve on the party or attorney designated in the subpoena a
        written objection to inspecting, copying, testing, or sampling any or all of the materials or
        to inspecting the premises—or to producing electronically stored information in the form
        or forms requested. The objection must be served before the earlier of the time specified
        for compliance or 14 days after the subpoena is served. If an objection is made, the
        following rules apply:

                     (i)     At any time, on notice to the commanded person, the serving party
               may move the court for the district where compliance is required for an order
               compelling production or inspection.

                       (ii)    These acts may be required only as directed in the order, and the
               order must protect a person who is neither a party nor a party’s officer from
               significant expense resulting from compliance.

        (3)    Quashing or Modifying a Subpoena.

              (A)      When Required. On timely motion, the court for the district where
        compliance is required must quash or modify a subpoena that:

                       (i)     fails to allow a reasonable time to comply;

                       (ii)   requires a person to comply beyond the geographical limits
               specified in Rule 45(c);

                      (iii)  requires disclosure of privileged or other protected matter, if no
               exception or waiver applies; or
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                       (iv)   subjects a person to undue burden.

               (B)      When Permitted. To protect a person subject to or affected by a subpoena,
        the court for the district where compliance is required may, on motion, quash or modify
        the subpoena if it requires:

                     (i)     disclosing a trade secret or other confidential research, development,
               or commercial information; or

                      (ii)    disclosing an unretained expert’s opinion or information that does
               not describe specific occurrences in dispute and results from the expert’s study that
               was not requested by a party.

               (C)    Specifying Conditions as an Alternative. In the circumstances described in
        Rule 45(d)(3)(B), the court may, instead of quashing or modifying a subpoena, order
        appearance or production under specified conditions if the serving party:

                      (i)    shows a substantial need for the testimony or material that cannot be
               otherwise met without undue hardship; and

                       (ii)   ensures that the subpoenaed person will be reasonably compensated.

 (e) DUTIES IN RESPONDING TO A SUBPOENA.

        (1)    Producing Documents or Electronically Stored Information. These procedures
 apply to producing documents or electronically stored information:

               (A)     Documents. A person responding to a subpoena to produce documents must
        produce them as they are kept in the ordinary course of business or must organize and label
        them to correspond to the categories in the demand.

                 (B)   Form for Producing Electronically Stored Information Not Specified. If a
        subpoena does not specify a form for producing electronically stored information, the
        person responding must produce it in a form or forms in which it is ordinarily maintained
        or in a reasonably usable form or forms.

               (C)    Electronically Stored Information Produced in Only One Form. The person
        responding need not produce the same electronically stored information in more than one
        form.

               (D)     Inaccessible Electronically Stored Information. The person responding
        need not provide discovery of electronically stored information from sources that the
        person identifies as not reasonably accessible because of undue burden or cost. On motion
        to compel discovery or for a protective order, the person responding must show that the
        information is not reasonably accessible because of undue burden or cost. If that showing
        is made, the court may nonetheless order discovery from such sources if the requesting
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       party shows good cause, considering the limitations of Rule 26(b)(2)(C). The court may
       specify conditions for the discovery.

       (2)    Claiming Privilege or Protection.

              (A)       Information Withheld. A person withholding subpoenaed information under
       a claim that it is privileged or subject to protection as trial-preparation material must:

                      (i)     expressly make the claim; and

                     (ii)      describe the nature of the withheld documents, communications, or
              tangible things in a manner that, without revealing information itself privileged or
              protected, will enable the parties to assess the claim.

               (B)     Information Produced. If information produced in response to a subpoena
       is subject to a claim of privilege or of protection as trial-preparation material, the person
       making the claim may notify any party that received the information of the claim and the
       basis for it. After being notified, a party must promptly return, sequester, or destroy the
       specified information and any copies it has; must not use or disclose the information until
       the claim is resolved; must take reasonable steps to retrieve the information if the party
       disclosed it before being notified; and may promptly present the information under seal to
       the court for the district where compliance is required for a determination of the claim. The
       person who produced the information must preserve the information until the claim is
       resolved.
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                Attachment B
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                                                              Cl.ERK'&  29 U,S.  Pageid#:
                                                                                   0ISY. COURT
                                   11708                           AT CHAAl.OTTE8\111.E,
                                                                            F'JLEO
                                                                              01/03/2018
                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                             Charlottesville Division

 ELIZABETH SINES, SETH WISPELWEY,
 MARISSA BLAIR, TYLER MAGILL, APRIL
 MUNIZ, HANNAH PEARCE, MARCUS
 MARTIN, JOHN DOE, JANE DOE 1, JANE
 DOE 2, and JANE DOE 3,


                            Plaintiffs,
 v.


 JASON KESSLER, RICHARD SPENCER,
 CHRISTOPHER CANTWELL, JAMES
 ALEX FIELDS, JR., VANGUARD                      Civil Action No. 3:17-cv-00072-NKM
 AMERICA, ANDREW ANGLIN,
 MOONBASE HOLDINGS, LLC, ROBERT
 “AZZMADOR” RAY, NATHAN DAMIGO,
 ELLIOT KLINE a/k/a/ ELI MOSELY,
 IDENTITY EVROPA, MATTHEW
 HEIMBACH, MATTHEW PARROTT a/k/a
 DAVID MATTHEW PARROTT,
 TRADITIONALIST WORKER PARTY,
 MICHAEL HILL, MICHAEL TUBBS,
 LEAGUE OF THE SOUTH, JEFF SCHOEP,
 NATIONAL SOCIALIST MOVEMENT,
 NATIONALIST FRONT, AUGUSTUS SOL
 INVICTUS, FRATERNAL ORDER OF THE
 ALT-KNIGHTS, MICHAEL “ENOCH”
 PEINOVICH, LOYAL WHITE KNIGHTS OF
 THE KU KLUX KLAN, and EAST COAST
 KNIGHTS OF THE KU KLUX KLAN a/k/a
 EAST COAST KNIGHTS OF THE TRUE
 INVISIBLE EMPIRE,


                            Defendants.


                [XPXRXO
                      XX
                       PXOXSXEXDX] ORDER FOR THE PRODUCTION OF DOCUMENTS
                       AND EXCHANGE OF CONFIDENTIAL INFORMATION




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         With the Parties, by and among their respective counsel, having stipulated and agreed to

  the terms set forth herein, and good cause having been shown,

         IT IS hereby ORDERED as follows:

  1)     Scope of Order – This Stipulation is being entered into to facilitate the production,

  exchange and discovery of documents and information that the parties agree merit confidential

  treatment (hereinafter the “Discovery”).

  2)     Designation of Discovery – Either party may designate Discovery, whether written,

  documentary, or testamentary, in connection with this action as “confidential” or “highly

  confidential” either by notation on the document, statement on the record of the deposition,

  written advice to the respective undersigned counsel for the parties hereto, or by other

  appropriate means.

  3)     Definitions – As used herein:

         a)      “Confidential Information” shall mean all Discovery, and all information

                 contained therein, designated as confidential. A Producing Party may designate as

                 Confidential any information that the Producing Party, in good faith, believes

                 should be protected from public disclosure.

         b)      “Highly Confidential Information” shall mean all Discovery, and all information

                 contained therein, designated as highly confidential. A Producing Party may

                 designate as Highly Confidential any information including, but not limited to,

                 personal information such as Social Security numbers, home addresses, telephone

                 numbers, tax returns, non-party surnames and medical, investment, credit and

                 banking information of any person, that the Producing Party, in good faith,




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                 believes should be protected from disclosure to those not permitted to receive

                 Highly Confidential Information.

         c)      “Producing Party” shall mean the parties to this action and any third parties

                 producing Confidential or Highly Confidential Information, or the party asserting

                 the confidentiality privilege, as the case may be.

         d)      “Receiving Party” shall mean the party to this action and/or any non-party

                 receiving Confidential or Highly Confidential Information.

  4)     Disclosure Prohibited – Except with the prior written consent of the Producing Party or

  by Order of the Court, Confidential Information shall not be furnished, shown or disclosed to any

  person or entity except to:

         a)      Parties and personnel of the Parties actually engaged in assisting in the

                 preparation of this action for trial or other proceeding herein who have been

                 advised of their obligations hereunder and have first executed the undertaking

                 contained in Exhibit A to this Stipulation;

         b)      counsel for the Parties to this action and their associated attorneys, paralegals and

                 other professional personnel (including support staff) who are directly assisting

                 such counsel in the preparation of this action for trial or other proceeding herein,

                 are under the supervision or control of such counsel, and who have been advised

                 by such counsel of their obligations hereunder;

         c)      expert witnesses or consultants retained by the parties or their counsel to furnish

                 technical or expert services in connection with this action or to give testimony

                 with respect to the subject matter of this action at the trial of this action or other

                 proceeding herein, and who have been advised by counsel of their obligations




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                  hereunder and have first executed the undertaking contained in Exhibit A to this

                  Stipulation;

          d)      trial or deposition witnesses;

          e)      stenographers and videographers used at a deposition and who have been advised

                  by counsel of their obligations hereunder;

          f)      the Court and Court personnel; and

          g)      any other person agreed to in writing by the Parties.

  5)      Treatment of Highly Confidential Information – Except with the prior written consent of

  the Producing Party or by Order of the Court, Highly Confidential Information shall not be

  furnished, shown or disclosed to any person or entity except to those identified in sub-paragraphs

  4(b), (c), (e), (f), and (g), as well as to trial or deposition witnesses if that witness sent, received,

  authored, or viewed the document or information outside the context of this litigation. For the

  avoidance of doubt, any person or entity identified in sub-paragraphs 4(c), 4(e), and 4(g)

  receiving Highly Confidential Information shall first execute the undertaking contained in

  Exhibit A to this Stipulation.

  6)      Retention of Confidentiality Agreements – Outside counsel for the Party that obtains the

  signed undertaking contained in Exhibit A shall retain them for six (6) months following the final

  termination of this litigation, including any appeals, and shall make them available to other

  Parties upon good cause shown.

  7)      Storage of Confidential Information – Each Receiving Party shall use due care with

  respect to the storage, custody, use, and/or dissemination of Confidential or Highly Confidential

  Information. A person with custody of documents designed Confidential or Highly Confidential




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  shall maintain them in a manner that limits access to those persons entitled under this Stipulation

  to examine the documents so designated.

  8)     Filing Under Seal – Any Party wishing to file Confidential or Highly Confidential

  Information with the Court shall, wherever possible, alert the Producing Party to the specific

  documents or information they wish to file sufficiently in advance of the filing to permit the

  Producing Party to file a motion to seal in accordance with the Court’s Local Rules, Title I, Rule

  9 (“Local Rule 9”). Upon being informed that the Producing Party will file such a motion, the

  filing party shall file the relevant documents and information under seal. Where such advance

  notice is not possible, the filing party will file any Confidential or Highly Confidential

  Information under seal and will also file a motion to seal in accordance with Local Rule 9

  requesting that the document be held under seal until such time as the Producing Party can file a

  motion to seal, which the Producing Party shall do within seven days.

  9)     Limitations on Use – Confidential and Highly Confidential Information shall be utilized

  by the Receiving Party and its counsel only for purposes of this action, including any appeals,

  and for no other purposes.

  10)    Presumption of Confidentiality – All testimony shall presumptively be treated as

  Confidential Information and subject to this Stipulation during the testimony and for a period of

  thirty (30) days after a transcript of said testimony is received by counsel for each of the parties.

  At or before the end of such thirty day period, the testimony shall be classified appropriately.

  11)    Restrictions of Use of Confidential Information – Any person receiving Confidential or

  Highly Confidential Information shall not reveal or discuss such information to or with any

  person not entitled to receive such information under the terms hereof.




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  12)     Inadvertent Misdesignation – Any document or information that may contain

  Confidential or Highly Confidential Information that has been inadvertently produced without

  identification as to its confidential nature may be so designated by the party asserting the

  confidentiality privilege by written notice to the undersigned counsel for the Receiving Party

  identifying the document or information as confidential or highly confidential within a

  reasonable time following the discovery that the document or information has been produced

  without such designation.

  13)    Extracts and Summaries – Extracts and summaries of Confidential or Highly Confidential

  Information shall also be treated as confidential or highly confidential in accordance with the

  provisions of this Stipulation.

  14)    No Waiver of Confidentiality – The production or disclosure of Confidential or Highly

  Confidential Information shall in no way constitute a waiver of each party’s right to object to the

  production or disclosure of other information in this action or in any other action.

  15)    Duration – The provisions of this Stipulation shall, absent prior written consent of both

  parties, continue to be binding after the conclusion of this action.

  16)    No Waiver of Privilege – Nothing herein shall be deemed to waive any privilege

  recognized by law, or shall be deemed an admission as to the admissibility in evidence of any

  facts or documents revealed in the course of disclosure. In the event of an inadvertent disclosure

  of allegedly privileged information, the Producing Party may provide notice in writing to the

  Receiving Party or Parties advising of the inadvertent disclosure, requesting return of the

  allegedly privileged information, and asserting the basis of the clawback request. Upon such

  notice, the Receiving Party or Parties shall make no further use of the allegedly privileged

  information, shall immediately segregate the information in a manner that will prevent any




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  further disclosure or dissemination, and shall take reasonable steps to retrieve the information to

  the extent it was disclosed or disseminated prior to receipt of the notice. Within ten (10) calendar

  days of receiving the notice of inadvertent disclosure, the Receiving Party shall return all

  allegedly privileged information in its possession, custody, or control, or shall provide written

  confirmation that such information has been deleted. Within twenty (20) days of providing the

  notice of inadvertent disclosure, or as otherwise agreed, the Producing Party shall provide the

  Receiving Party or parties with a privilege log identifying the allegedly privileged information

  that was inadvertently disclosed and the asserted grounds for privilege, as required by the Federal

  Rules of Civil Procedure and applicable court rules.

  17)    Subpoenas in Other Actions – In the event a Receiving Party having possession, custody,

  or control of any Confidential or Highly Confidential Information produced in this action

  received a subpoena or other process or order to produce such information, such subpoenaed

  person or entity shall promptly notify by e-mail the attorneys of record of the Producing Party

  and shall furnish those attorneys with a copy of said subpoena or other process or order. The

  Receiving Party shall not produce the requested Confidential or Highly Confidential Information

  unless and until a court of competent jurisdiction so directs, except if the Producing Party (a)

  consents, or (b) fails to file a motion to quash or fails to notify the Receiving Party in writing of

  its intention to contest the production of the Confidential or Highly Confidential Information

  prior to the date designated for production of the subpoenaed information, in which event the

  Receiving Party may produce on the designated production date, but no earlier. The purpose of

  requiring the Receiving Party to wait until the designated production date for producing the

  Confidential or Highly Confidential Information is to afford the Producing Party an opportunity

  to protect its confidentiality interest in the matter or proceeding in connection with which the




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  discovery request, subpoena, or order is issued. The Producing Party asserting the confidential

  treatment shall have the burden of defending against such subpoena, process, or order. The

  person or Party receiving the subpoena or other process or order shall be entitled to comply with

  it except to the extent the Producing Party asserting the confidential treatment is successful in

  obtaining an order modifying or quashing it.

  18)    Return or Destruction of Confidential Information – Within sixty (60) days after the final

  termination of this action by settlement or exhaustion of all motions or appeals, all Confidential

  or Highly Confidential Information produced or designated and all reproductions thereof, shall be

  returned to the Producing Party or shall be destroyed, at the option of the Producing Party. In the

  event that any party chooses to destroy physical objects and documents, such party shall certify

  in writing within sixty (60) days of the final termination of this litigation that it has undertaken its

  best efforts to destroy such physical objects and documents, and that such physical objects and

  documents have been destroyed to the best of its knowledge. Notwithstanding anything to the

  contrary, counsel of record for the parties may retain one copy of documents constituting work

  product, a copy of pleadings, motion papers, discovery responses, deposition transcripts and

  deposition and trial exhibits, except that internal counsel and internal staff shall not retain any

  copies or summaries of Highly Confidential Information. This stipulation shall not be interpreted

  in a manner that would violate any applicable canons of ethics or codes of professional

  responsibility. Nothing in this stipulation shall prohibit or interfere with the ability of counsel for

  any party, or of experts specially retained for this case, to represent any individual, corporation,

  or other entity adverse to any party or its affiliate(s) in connection with any other matters.

  19)    Modification – This Stipulation may be changed by further order of the Court, and is

  without prejudice to the rights of a party to move for relief from, or modification of, any of its




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  provisions, or to seek or agree to different or additional protection for any particular material or

  infom1ation.

  20)    Headings - The headings herein are provided only for the convenience of the Paiiies, and

  are not intended to define or limit the scope of the express tem1S of this Stipulation.



  Dated: 1/3/18



  SOORDERED




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                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                             Charlottesville Division

   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, TYLER MAGILL, APRIL
   MUNIZ, HANNAH PEARCE, MARCUS
   MARTIN, JOHN DOE, JANE DOE 1, JANE
   DOE 2, and JANE DOE 3,

                               Plaintiffs,
   v.

   JASON KESSLER, RICHARD SPENCER,
   CHRISTOPHER CANTWELL, JAMES
   ALEX FIELDS, JR., VANGUARD
   AMERICA, ANDREW ANGLIN,                          Civil Action No. 3:17-cv-00072-NKM
   MOONBASE HOLDINGS, LLC, ROBERT
   “AZZMADOR” RAY, NATHAN DAMIGO,
   ELLIOT KLINE a/k/a/ ELI MOSELY,
   IDENTITY EVROPA, MATTHEW                           EXHIBIT A: AGREEMENT TO
   HEIMBACH, MATTHEW PARROTT a/k/a                     RESPECT CONFIDENTIAL
   DAVID MATTHEW PARROTT,                                  INFORMATION
   TRADITIONALIST WORKER PARTY,
   MICHAEL HILL, MICHAEL TUBBS,
   LEAGUE OF THE SOUTH, JEFF SCHOEP,
   NATIONAL SOCIALIST MOVEMENT,
   NATIONALIST FRONT, AUGUSTUS SOL
   INVICTUS, FRATERNAL ORDER OF THE
   ALT-KNIGHTS, MICHAEL “ENOCH”
   PEINOVICH, LOYAL WHITE KNIGHTS OF
   THE KU KLUX KLAN, and EAST COAST
   KNIGHTS OF THE KU KLUX KLAN a/k/a
   EAST COAST KNIGHTS OF THE TRUE
   INVISIBLE EMPIRE,

                               Defendants.

   I,                  , state that:

         1.    My address is                                                             .

         2.    My present employer is _                                                      .

         3.    My present occupation or job description is                                   .




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           4.     I have received a copy of the Stipulation and Order for the Production and

   Exchange of Confidential Information (the “Order”) entered in the above-entitled Action on

                    .

           5.     I have carefully read and understand the provisions of the Order.

           6.     I will comply with all of the provisions of the Order.

           7.     I will hold in confidence, will not disclose to any one not qualified under the

   Order, and will use only for purposes of this litigation, any CONFIDENTIAL INFORMATION

   or HIGHLY CONFIDENTIAL INFORMATION that is disclosed to me.

           8.     Within sixty (60) days after conclusion of this litigation, or as otherwise agreed, I

   will return all CONFIDENTIAL INFORMATION or HIGHLY CONFIDENTIAL

   INFORMATION that comes into my possession, and documents or things that I have prepared

   relating thereto, to counsel for the Party by whom I am employed or retained, or to counsel from

   whom I received the CONFIDENTIAL INFORMATION or HIGHLY CONFIDENTIAL

   INFORMATION.

           9.     I hereby submit to the jurisdiction of this Court for the purpose of enforcement of

   the Order in this Action.



   Signature:

   Date:




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